                   Case 1:07-cv-00010-ML-DLM                                        Document 1-2                           Filed 01/08/2007             Page 1 of 1

                                                                     CIVIL cov
JS 44 (Rev. 3/99)

The JS-44 civil cover sheet and information contained herein neither replace nor supplement the filing and service of pleadings
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September
of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
I. la)
   3-I
       PLAINTIFFS
        -                                                                                               I   DEFENDANTS
                                                                                                                  te of ~tmcieIsland, et al.                        JAN 0 8 2007
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                                                                                                                                                                  d US1                       Court

  (b) COUNTY OF RESIDENCEOF FIRST LISTED PLAINTIFF                                                          COUNTY OF RESIDENCE OF FIRST LISTED DTFf!NDANT
                                                                                                                                                                    ofRhX1.                 '*'*
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE: IN LAND CONDEMNATION CASES. USE THE LOCATION OF THE
                                                                                                                 TRACT OF LAND INVOLVED.

  Ic)   ATTORNEYS {FIRM NAME ADDRESS AND TELEPHONE NUMBERI                                              1 ATTORNEYS (IF KNOWN)


11. BASIS OF JURlSDlCTlON                        (PLACE AN "X" IN ONE BOX ONLY)
                                                                                           I   111. ClTlZENSHlP OF PRINCIPAL PARTIES (PLACE AN -x" IN ONE BOX FOR PLAINTIFF
                                                                                                    (For Diversity Cases Only)
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        U.S. Government
         Plaintiff
                                      Federal Question
                                        U.S. Government Not a Partvl                       I        Citizen of This State

                                                                                                    Citizen of Another Sta
                                                                                                                                               Incorporatedor Principal Place
                                                                                                                                                 of Business In This State




                                                                        RSONAL PROPERTY




                                                                                                                                                                    Environmental Matters



                                                                                                             0 Railway Labor Act

                                                                                                             0 Other Labor Litigation
  45 TOII Product Liablllly                                                                                                                                         Other Statutory Actions




VI. CAUSE OF ACTION (CITE THE U. S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AN0 WRITE BRIEF STATEMENT OF CAUSE.
                                     M MC\T C I T E 11 I P I E n I P T I ~ L I A ISTAT1 ITSC 1 IN1 SCE nl\lCDCITV \

                                end irnma&mble search and e t u r e In W t i o n 0f 42 U.S.C. sec. 1983 & 42 u.s.~.
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FOR OFFICE USE ONLY

RECEIPT #                        AMOUNT                             APPLYING IFP                                 JUDGE                               MAG. JUDGE
